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                      UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


    TINY TOWN, LLC,
    Plaintiff

                               V.                    SUMMONS IN A CIVIL CASE
    TINY TOWN LLC, ET AL.,
    Defendant
                                                     CASE
                                                     NUMBER: 2:23−CV−23226−SDW−ESK


       TO: (Name and address of Defendant):




       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)
    −− or 60 days if you are the United States or a United States Agency, or an office or employee of
    the United States described in Fed. R. civ. P. 12 (a)(2) or (3) −− you must serve on the plaintiff
    an answer to the attached complaint or a motion under rule 12 of the Federal Rules of Civil
    Procedure. The answer or motion must be served on the plaintiff or plaintiff`s attorney, whose
    name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief
    demanded in the complaint. You also must file your answer or motion with the court.




     CLERK OF COURT




                                                                 ISSUED ON 2023−12−20 16:02:19, Clerk
                                                                            USDC NJD
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                                                    RETURN OF SERVICE
  Service of the Summons and complaint was made by DATE
  me(1)
  NAME OF SERVER (PRINT)                           TITLE

   Check one box below to indicate appropriate method of service



               Served personally upon the defendant. Place where served: ___________________________
               ________________________________________________________________________; or

               Left the summons at the individual's residence or usual place of abode with (name):
               ___________________________ a person of suitable age and discretion who resides there,
               on (date):__________ and mailed a copy to the individual's last known address; or

               Name of person with whom the summons and complaint were left:
               _______________________________________; or

               Returned unexecuted: _______________________________________________________
               _________________________________________________________________________
               ______________________________________________________________________; or

               Other (specify):
               _________________________________________________________________________
               _________________________________________________________________________
               _________________________________________________________________________



                                               STATEMENT OF SERVICE FEES
   TRAVEL                              SERVICES                                         TOTAL

                                                 DECLARATION OF SERVER

               I declare under penalty of perjury under the laws of the United States of America that the foregoing
            information
            contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on       ___________________                 _______________________________________
                                        Date                    Signature of Server

                                                                _______________________________________
                                                                Address of Server
